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11                                                     Counsel for Plaintiffs and the Proposed Classes

12
                                  UNITED STATES DISTRICT COURT
13
                               NORTHERN DISTRICT OF CALIFORNIA
14
                                      SAN FRANCISCO DIVISION
15

16   J.L., C.B., K.S., P.M., N.G., R.F., J.D., and G.R. )    CASE NO.: 3:23-cv-03440-AMO
     individually, and on behalf of all others similarly )
17   situated,                                           )   STIPULATION SETTING TIME TO
                                                         )   RESPOND TO THE COMPLAINT
18                   Plaintiffs,                         )
                                                         )   Civil Local Rule 6-1(a)
19           v.                                          )
                                                         )   Judge: Hon. Araceli Martinez-Olguin
20   ALPHABET INC., GOOGLE DEEPMIND, and )
     GOOGLE LLC,                                         )
21                                                       )
                     Defendants.                         )
22                                                       )

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     STIPULATION SETTING TIME TO RESPOND                                   CASE NO.: 3:23-CV-03440-AMO
     TO THE COMPLAINT
        Case 3:23-cv-03440-AMO Document 11 Filed 08/04/23 Page 2 of 2



 1          Under Rule 6-1(a) of the Local Rules of the United States District Court, Northern

 2   District of California, Plaintiffs and Defendants agree that Defendants’ response to Plaintiffs’

 3   Complaint shall be due on or before September 18, 2023. In so agreeing, neither party waives

 4   any position regarding service or jurisdiction.

 5

 6   Dated: August 4, 2023                        WILSON SONSINI GOODRICH & ROSATI
                                                  Professional Corporation
 7
                                                   By: /s/ David H. Kramer
 8
                                                          David H. Kramer
 9                                                        dkramer@wsgr.com

10                                                 Counsel for Defendants
11

12   Dated: August 4, 2023                        CLARKSON LAW FIRM
                                                   Professional Corporation
13
                                                  By: /s/ Tracey Cowan
14                                                        Tracey Cowan
                                                          tcowan@clarksonlawfirm.com
15

16                                                 Counsel for Plaintiffs and the Proposed Classes

17

18                                    SIGNATURE ATTESTATION
19          I, David H. Kramer, am the ECF User whose ID and password are being used to file this
20   document. In compliance with N.D. Cal. Civil L.R. 5-1(h)(3), I hereby attest that the concurrence
21   in the filing of this document has been obtained from the signatory.
22                                                 By: /s/ David H. Kramer
                                                          David H. Kramer
23

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     STIPULATION SETTING TIME TO RESPOND               -1-                             3:23-CV-03440-AMO
     TO THE COMPLAINT
